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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA,

                     Plaintiff,                          Case No. 4:20-cr-20599
                                                         Hon. Matthew F. Leitman
v.

D1, JOHN ANGELO, and
D2, ROSINA ANGELO,

              Defendants.


                ORDER REGARDING WITNESS NABIL BEYDOUN


       Having considered the application by The United States of America, the Court finds

that the application is well taken and GRANTS the application. It is ORDERED that Nabil

Beydoun will testify at all trials in this matter and any further proceedings resulting from

the trials or ancillary thereto, subject to the provisions provided in 18 U.S.C. § 6002, that

no testimony or other information compelled under this Order (or any information derived

directly or indirectly from such testimony or other information) may be used against him

in any criminal case, except a prosecution for perjury, giving a false statement, or otherwise

failing to comply with this Order.

       IT IS SO ORDERED.

                                           s/Matthew F. Leitman
                                           MATTHEW F. LEITMAN
                                           UNITED STATES DISTRICT JUDGE

Dated: July 12, 2023
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I hereby certify that a copy of the foregoing document was served upon the parties and/or
counsel of record on July 12, 2023, by electronic means and/or ordinary mail.

                                         s/Holly A. Ryan
                                         Case Manager
                                         (313) 234-5126




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